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14   [Additional counsel listed on signature page]
15
                                   UNITED STATES DISTRICT COURT
16
                                  NORTHERN DISTRICT OF CALIFORNIA
17
                                                     )
18   ALLROUNDS, INC.,                                )   CASE NO.
                                                     )
19                   Plaintiff,                      )   COMPLAINT
                                                     )
20            v.                                     )   DEMAND FOR JURY TRIAL
                                                     )
21   ESHARES, INC. D/B/A/ CARTA, INC.,               )
     CARTA CAPITAL MARKETS, LLC,                     )
22   CARTA SECURITIES, LLC,                          )
     DFJ MANAGEMENT, LLC,                            )
23   THRESHOLD MANAGEMENT LLC,                       )
     DFJ GROWTH MANAGEMENT, LLC,                     )
24   DRAPER FISHER JURVETSON                         )
     MERCURY VENTURE PARTNERS, L.P.,                 )
25   AND                                             )
     DRAPER ASSOCIATES, L.P.,                        )
26                                                   )
                     Defendants.                     )
27                                                   )

28
 1                                               COMPLAINT

 2          Plaintiff AllRounds, Inc. (“AllRounds” or “Plaintiff”) alleges as follows against Defendants

 3   DFJ Management, LLC (“DFJ”), Threshold Management, LLC (“Threshold Management”), DFJ

 4   Growth Management, LLC (“DFJ Growth”), Draper Fisher Jurvetson Mercury Venture Partners, L.P.

 5   (“DFJ Mercury”), Draper Associates, L.P. (“Draper Associates”) (collectively, the “Draper VC

 6   Entities”), and eShares, Inc. d/b/a/ Carta, Inc., Carta Capital Markets, LLC, and Carta Securities, LLC

 7   (collectively, “Carta”) (along with the Draper VC Entities, collectively, the “Defendants”). The

 8   allegations herein are made based on personal knowledge as to AllRounds with respect to its own

 9   actions, and upon information and belief as to all other matters.

10                                             INTRODUCTION

11          1.      Founded by entrepreneur Jamie Cohan, AllRounds conceived of and built the world’s

12   first comprehensive private capital management software platform. Based on the market experience

13   and ingenuity of its founder, and through extensive research and development, AllRounds became the

14   first company to offer a scalable, customizable, and accurate software solution that manages the entire

15   workflow of the private investment world.

16          2.      Through his many years of experience in the world of private investment, in the early

17   2000s, Mr. Cohan discovered significant flaws with the traditional methods for creating financial

18   models concerning privately held companies, accessing those models and attendant data by managers

19   at those companies, and sharing that information with investors. As Mr. Cohan discovered, financial

20   data was unreliable and riddled with human error, and what financial data did exist was largely

21   unavailable to outside investors, who would benefit from access to it. These disadvantages led to great

22   inefficiencies in the ways companies managed their finances and how investing in private companies

23   occurred. To address these and other deficiencies, over the course of years, Mr. Cohan developed a

24   software technology platform that was expansive and comprehensive, while remaining intuitive and

25   easy to use. The resulting AllRounds technology platform provided a private capital management

26   solution to all entities involved in the private capital world—whether they are privately held

27   companies, individual investors, private equity firms, venture capital firms, or associated service firms

28   such as law firms, accounting firms, or valuation service firms.


      COMPLAINT                                         1
 1          3.      It was not long before others took notice of Mr. Cohan’s technological innovations and

 2   became interested in the AllRounds software. This included the Draper VC Entities, who recognized

 3   the power of AllRounds’ technologies, commenting that “AllRounds has a very impressive product

 4   that [] will successfully revolutionize how we use financial info in the venture ecosystem.” However,

 5   unbeknownst to Mr. Cohan at the time, it would be those very people that Mr. Cohan trusted with

 6   AllRounds’ confidential information that would be the ones to illegally use Mr. Cohan’s technologies

 7   against him, to develop a competing product and attempt to put AllRounds out of business.

 8          4.      Unlike AllRounds, Defendant Carta did not innovate on its own. At the time Mr. Cohan

 9   was developing and deploying the AllRounds software to its customers, Defendant Carta had a simple,

10   low-margin and low-tech business of converting paper stock certificates into digital ones. However,

11   in connection with bringing on AllRounds’ former customer as a key investor—the Draper venture

12   capital firm who had acquired AllRounds’ trade secrets and agreed to keep them secret—Carta went

13   from a simple stock certificate company to one that had AllRounds squarely in its sights. This was no

14   coincidence: the Defendants, armed with their knowledge of AllRounds technologies and with

15   AllRounds trade secrets in hand, conspired to provide AllRounds’ trade secret technologies to Carta,

16   to enable Carta to release a competing software product almost identical to AllRounds. Knowing that

17   Mr. Cohan’s technologies would spark a revolution in the private investment world, Defendants

18   planned to promote their version of AllRounds’ technologies, cutting AllRounds out of its own

19   technologies, and taking all the credit. One need not look far to see Defendants’ motives for their

20   illegal acts: thus far, Carta has reaped hundreds of millions of dollars directly attributable to Mr.

21   Cohan’s technologies, and its once sleepy business is now valued at over $3 billion.

22          5.      The misappropriation continues to this day, as Carta continues to sell its

23   misappropriated software and continues to release new software based on Mr. Cohan’s trade secret

24   technologies. The Defendants stole not only AllRounds’ software trade secrets, but also its business

25   plans and market insights, which enabled them to become the dominant force in this winner-take-all

26   market. Acknowledging the illegality of their acts, and in further abject indifference to Mr. Cohan’s

27   rights, Defendants went to great lengths to conceal their scheme to misappropriate AllRounds’ trade

28

      COMPLAINT                                        2
 1   secrets, including telling Mr. Cohan that they believed there was no market for the technology, while

 2   simultaneously building a competing platform using his trade secrets.

 3          6.       At all times, the Defendants knew that the technology they were using to develop the

 4   Carta platform not only constituted AllRounds’ trade secrets, but also that aspects of the technology

 5   infringed AllRounds patent rights. The Defendants further understood the confidentiality obligations

 6   owed to AllRounds, yet proceeded to unlawfully use AllRounds’ trade secret technology, business

 7   plans, and market insight, and continue to do so to this day.

 8          7.       The Defendants’ misappropriation of trade secrets and Carta’s infringement of

 9   AllRounds’ patents leave AllRounds no choice but to file this lawsuit seeking injunctive relief and

10   recovery of damages for the harm that has been caused by the Defendants’ unlawful conduct. The

11   Defendants did not compete fairly with AllRounds—they, through the Draper firm, developed a

12   relationship of trust with AllRounds, then blatantly stole AllRounds’ trade secrets and copied

13   AllRounds’ proprietary technologies in order to take a shortcut to the marketplace. Such conduct deters

14   investments in technology, harms entrepreneurship, and damages the economy in critical ways. Unless

15   halted, the Defendants’ illegal actions will encourage other companies who have not invested in

16   research and development themselves to steal the trade secrets and violate the intellectual property

17   rights of true innovators and entrepreneurs.

18          8.       For these reasons and as alleged in detail below, AllRounds brings this action against

19   Defendants for trade secret misappropriation, in violation of the Defend Trade Secret Act, 18 U.S.C.

20   § 1836, et seq. and California Uniform Trade Secret Act, Cal. Civ. Code § 3246, et seq., and for patent

21   infringement.

22                                              THE PARTIES
23          9.       AllRounds, Inc. is a company organized and existing under the laws of California

24   having a principal place of business in Tiburon, California, with its mailing address at 548 Market

25   Street, Suite 95255, San Francisco, California 94104.

26          10.      Defendant DFJ Management, LLC (“DFJ”) is a company, formerly known as Draper

27   Fisher Jurvetson Management, LLC, organized and existing under the laws of California, with its

28   principal place of business at 2882 Sand Hill Road, Menlo Park, California 94025. DFJ also does


      COMPLAINT                                         3
 1   business under at least the following names: Draper Fisher Jurvetson; Threshold Ventures I General

 2   Partner LLC; Threshold Ventures I Management Company, LLC; Draper Fisher Jurveston

 3   Management Company VI, LLC; Draper Fisher Jurveston Fund VII Partners, L.P.; Draper Fisher

 4   Jurveston Fund VII Management Company, LLC; Draper Fisher Jurveston Fund VIII Partners, L.P.;

 5   Draper Fisher Jurveston Fund VIII Management Company, LLC; Draper Fisher Jurveston Fund IX

 6   Partners L.P.; Draper Fisher Jurveston Fund IX Management Company, LLC; Draper Fisher Jurveston

 7   Fund X Partners, L.P.; Draper Fisher Jurveston Fund X Management Company, LLC; Draper Fisher

 8   Jurveston Fund XI Partners, L.P.; Draper Fisher Jurveston Fund XI Management Company, LLC;

 9   Threshold Ventures II Management Company, LLC; Threshold Ventures II General Partner, LLC;

10   Threshold Ventures I Partners Fund, LLC; Draper Fisher Jurveston Partners IX, LLC; Draper Fisher

11   Jurveston Partners VI, LLC; Draper Fisher Jurveston Partners VII, LLC; Draper Fisher Jurveston

12   Partners VIII, LLC; Draper Fisher Jurveston Partners X, LLC; Threshold Ventures I Partners Fund,

13   LLC; Threshold Ventures I, L.P.; Threshold Ventures II Partners Fund, LLC; Threshold Ventures II,

14   L.P.; DFJ Fund VII; DFJ Fund VIII; DFJ Fund IX; DFJ Venture; DFJ Ventures; Draper Fisher

15   Jurvetson Venture Partners, L.P.; Draper Fisher Jurveston Management Company V, LLC; Draper

16   Fisher Management Company, LLC.

17          11.     Defendant Threshold Management LLC (“Threshold Management”) is a company,

18   formerly known as DFJ Venture, organized and existing under the laws of California, with its principal

19   place of business at 2882 Sand Hill Road, Suite 150, Menlo Park, California 94025. Threshold

20   Management also does business under at least the following names: Threshold Ventures; Threshold

21   Ventures III General Partner, LLC; Threshold Ventures III, L.P.

22          12.     Defendant DFJ Growth Management, LLC (“DFJ Growth”) is a company organized

23   and existing under the laws of California, with its principal place of business at 2882 Sand Hill Rd

24   Suite 150, Menlo Park, California 94025.

25          13.     Defendant Draper Fisher Jurvetson Mercury Venture Partners, L.P. (“DFJ Mercury”)

26   is a company organized and existing under the laws of Delaware, with its principal place of business

27   at 3737 Buffalo Speedway, Suite 1750, Houston, Texas 77098.

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      COMPLAINT                                        4
 1          14.     Defendant Draper Associates, L.P. (“Draper Associates”) is a company organized and

 2   existing under the laws of California, with its principal place of business at 55 East 3rd Avenue, San

 3   Mateo, California 94401.

 4          15.     In connection with the unlawful acts alleged herein, the Draper VC Entities have acted

 5   in concert with each other, as each other’s agents and/or affiliates, and have held themselves out to

 6   AllRounds as being closely intertwined, operating under common authority, and acting as each other’s

 7   alter egos, including as alleged herein.

 8          16.     Defendant eShares, Inc. (“eShares”) d/b/a/ Carta, Inc. is a company organized and

 9   existing under the laws of Delaware, with its principal place of business at 195 Page Mill Road Suite

10   101, Palo Alto, California 94306.

11          17.     Defendant Carta Capital Markets, LLC is a company organized and existing under the

12   laws of Delaware, with its principal place of business at One World Trade Center, 81st Floor, New

13   York, New York 10007, and a California office at 333 Bush St. 23rd Floor, Suite 2300, San Francisco,

14   California 94104.

15          18.     Defendant Carta Securities, LLC is a company organized and existing under the laws

16   of Delaware, with its principal place of business at 600 Harrison Street, Suite 120, San Francisco,

17   California 94107. Carta Securities, LLC also conducts business under at least the name eShares

18   Securities, LLC.

19          19.     Defendants eShares, Inc. d/b/a/ Carta, Inc., Carta Securities, LLC, and Carta Capital

20   Markets, LLC are referred to herein collectively as “Carta.”

21                                              JURISDICTION
22          20.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 2201, 2202,

23   the trade secret laws of the United States (18 U.S.C. §§ 1836 and 1839), and the Federal Patent Act,

24   35 U.S.C. § 101 et seq. This Court also has supplemental jurisdiction over the asserted state law

25   claims pursuant to 28 U.S.C. § 1367(a) because the federal and state law claims derive from a common

26   nucleus of operative facts.

27          21.     This Court has personal jurisdiction over all of the Defendants. Personal jurisdiction

28   exists generally and specifically over all of the Defendants because they (directly and/or through their


      COMPLAINT                                         5
 1   subsidiaries, divisions, groups or distributors) have sufficient minimum contacts with the Northern

 2   District of California as a result of substantial business conducted within the State of California.

 3           22.     Personal jurisdiction also exists specifically over all the Defendants because they have

 4   each committed acts of misappropriation, and, additionally Carta has committed acts of patent

 5   infringement, in this District and the State of California, because Carta directly and/or through its

 6   subsidiaries, divisions, groups, or distributors, advertises, markets, uses, offers for sale, imports for

 7   sale and/or sells the products at issue in this case containing the misappropriated technology in this

 8   District and the State of California, and places those products in the stream of commerce with the

 9   expectation and knowledge that they will be purchased by consumers in this district.

10                                                      VENUE
11           23.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), 1400(a) because a

12   substantial part of the events or omissions giving rise to the claim occurred in this judicial district, and

13   a substantial part of property that is the subject of the action is situated in this judicial district. Further,

14   Carta has committed acts of patent infringement in this judicial district and has a principal place of

15   business in in this judicial district, as described above, and therefore has a regular and established

16   place of business in this judicial district. Moreover, all Defendants committed acts of trade secret

17   misappropriation in this judicial district. Lastly, all Defendants except for DFJ Mercury have a

18   principal place of business or offices in which they regularly conduct business in this judicial district.

19                                      INTRADISTRICT ASSIGNMENT
20           24.     This is an action regarding intellectual property rights and therefore excluded from the

21   division-specific venue rule, pursuant to L.R. 3-2(c).

22                                ADDITIONAL FACTUAL ALLEGATIONS
23           A.      AllRounds’ Trade Secret Technologies
24           25.     As described above, Mr. Cohan recognized significant problems with the way

25   computer-based private capital and internal finance operated in the early-to-mid 2000s. Using his

26   knowledge concerning those industries and of computer programming, he developed his innovative

27   technologies directed at addressing those problems, which revolutionized the way private companies

28   and their investors do business. One way that AllRounds pioneered private capital management was


      COMPLAINT                                             6
 1   by innovating a technology system and a method that use intelligently-designed and comprehensive

 2   software accessible to a plurality of users through a communication network, such as the Internet. The

 3   software facilitates pre-financing and post-financing interactions between the users, which may be, for

 4   example, companies and investors, throughout one or more “rounds” of financing. This innovation

 5   greatly reduces deadweight loss and uncaptured value that existed in prior software solutions due to

 6   the lack of a standard process for exchanging securities, lack of transparent information, lack of

 7   continuous valuation ability, and lack of a critical mass of investors.

 8          26.     Respecting intellectual property rights is important to AllRounds, and AllRounds

 9   protected its technological innovations in a number of ways.

10          27.     For example, AllRounds maintained many of its technological innovations as trade

11   secrets. Many of these trade secrets focused on three primary components of AllRounds’ innovative

12   platform: (1) technological functionality for private companies to manage their own finances; (2)

13   technological functionality for investors to manage investments, including in those companies; and

14   (3) technological capabilities to allow the company and investor sides of its software to integrate in a

15   unique and innovative way.

16          28.     AllRounds’ trade secrets relating to its technologies for private companies concern the

17   design and implementation of a hardware and software platform that creates a comprehensive picture

18   of a company’s financing and capitalization, using advanced mathematical tools and synthesizing a

19   greater number of data sources than ever before possible to create a fully-informed system that is easier

20   to manage, far less prone to human error, and far more flexible, dynamic, and scalable as a company

21   grows and changes over time.

22          29.     AllRounds’ trade secrets relating to its technologies for venture capital and other

23   investors concern the design and implementation of a hardware and software platform that provides

24   visibility into financial performance of investments and a greater ability to track and manage one’s

25   stake in a given company in a way that greatly reduces management overhead and mitigates error.

26   AllRounds’ integration of the company and investor sides of its platform involves additional trade

27   secrets concerning the design and implementation of that integration, and its use to enable a new world

28   of private security trading.


      COMPLAINT                                          7
 1          30.      The particular combination of features AllRounds chose to include in its software, and

 2   the look and feel of those features also reflect years of research and development, as well as Mr. Cohan

 3   extensive experience in the industry and his ingenuity, which made AllRounds platform unlike any

 4   other financial and capital management software.

 5          B.       AllRounds Diligently Protects Its Trade Secrets and Confidential Information
 6          31.      AllRounds has expended considerable resources in research and development, which

 7   resulted in volumes of confidential technical trade secrets. AllRounds has also committed a significant

 8   amount of resources in developing its business plans and market insight, which led to additional

 9   proprietary trade secrets. In particular, significant aspects of AllRounds’ products and business are

10   highly confidential, and are maintained by AllRounds in strict confidence as trade secrets to protect

11   their value and the substantial investments AllRounds has made to develop them. Indeed, this

12   confidential information derives considerable value from not being publicly known outside of

13   AllRounds.

14          32.      After experiencing first-hand the challenges associated with funding technology

15   companies in the late 1990s and early 2000s, Mr. Cohan founded AllRounds in 2007.                   The

16   development of AllRounds’ trade secret technologies required Mr. Cohan to make substantial capital

17   investments, and expend thousands of person hours on software development and testing.

18          33.      AllRounds has acted reasonably and diligently to protect the secrecy of its trade secret

19   and confidential information, including by the following measures:

20               Securing access to the premises of its headquarters;
21               Requiring employees to sign non-disclosure / confidentiality agreements;
                 Protecting the AllRounds software by password, which is only able to be created and
22                distributed by AllRounds employees;
                 Storing AllRounds confidential source code information on secure, password-protected
23                servers that only AllRounds research and development staff have access to;
24               Performing exit interviews in which AllRounds’ managers discuss the continuing nature
                  of one’s duties of confidentiality to AllRounds, as well as detailed questions about return
25                of company documents, diligently seeking return of its property including its trade secret
                  and confidential information;
26               Requiring that employees reaffirm their confidentiality, non-disclosure, employee non-
                  solicitation and return of property obligations upon termination of employment;
27
                 Sharing information with potential customers and investors with strict expectation of
28                confidentiality;


      COMPLAINT                                          8
 1               Labeling confidential material with a designation indicating its confidential nature where
                  practicable; and
 2               Requiring customers to sign a non-disclosure / confidentiality agreement before obtaining
 3                access to the AllRounds software.

 4          C.       AllRounds’ Patented Technologies
            34.      In addition to protecting its technologies through trade secret protection, AllRounds
 5
     also protected certain other of its technologies through patents. In particular, AllRounds applied for
 6
     and obtained two U.S. patents. United States Patent No. 8,046,295 (the “’295 patent”), entitled
 7
     “Private Capital Management System and Method,” issued on October 25, 2011 to inventor James
 8
     Anthony Cohan. A true and correct copy of AllRounds’ ’295 patent is attached as Exhibit A.
 9
     AllRounds is the owner and sign assignee of the ’295 patent and has the full right to enforce and/or
10
     license the ’295 patent. The ’295 patent is valid and enforceable. United States Patent No. 8,374,954
11
     (the “’954 patent”), with the same title, issued on February 12, 2013 to the same inventor. A true and
12
     correct copy of AllRounds’ ’954 patent is attached as Exhibit B. AllRounds is the owner and sign
13
     assignee of the ’954 patent and has the full right to enforce and/or license the ’954 patent. The ’954
14
     patent is valid and enforceable.
15

16          D.       The Draper VC Entities Acquired Extensive AllRounds Trade Secrets
            35.      Upon learning about AllRounds’ groundbreaking technologies, the Draper VC Entities
17
     were immediately interested. As to DFJ, in or around April 2010, AllRounds’ Vice President of Sales,
18
     Rizwan Hussain (“Hussain”) connected with Marta Bulaich (“Bulaich”) of DFJ.               Bulaich was
19
     responsible for coordinating among affiliates of DFJ and the various Draper VC Entities on behalf of
20
     DFJ.
21
            36.      DFJ was very interested in what AllRounds had to offer, and so about one week later,
22
     on or around June 18, 2010, AllRounds had a kickoff meeting with Mark Greenstein (“Greenstein”),
23
     CFO of DFJ, and Bulaich. During the meeting, the DFJ representatives stated they would introduce
24
     AllRounds to Draper Associates, DFJ Growth, and DFJ Mercury, and proceeded to do so.
25
            37.      On or around July 15, 2010, Draper Associates partner Joel Yarmon (“Yarmon”)
26
     emailed Valerie Milligan (“Milligan”), executive assistant to Mark Bailey (“Bailey”), partner at DFJ
27
     Growth, encouraging DFJ Growth to adopt AllRounds products.
28

      COMPLAINT                                         9
 1          38.     On or around March 17, 2011, DFJ Growth entered into the AllRounds Master

 2   Subscription Agreement (“MSA”), formally becoming an AllRounds’ customer. AllRounds provided

 3   its proprietary system including AllRounds trade secrets to DFJ Growth and continued working closely

 4   with DFJ Growth. The recipients of AllRounds’ confidential information included partners, executive

 5   assistants, associates, and IT personnel.

 6          39.     On or around March 6, 2012, DFJ Mercury entered into the AllRounds MSA and

 7   formally became an AllRounds’ customer. AllRounds provided its proprietary system, including

 8   AllRounds trade secrets, to DFJ Mercury and continued working closely with DFJ Mercury.

 9   AllRounds’ technology proved to be critically valuable as AllRounds’ proprietary products and

10   features identified major inconsistencies in DFJ Mercury’s financial information multiple times. The

11   recipients of AllRounds’ confidential information involved the CFO, the managing partner, and the

12   director of financial reporting.

13          40.     On or around March 6, 2012, DFJ Mercury’s MSA was amended to add access for

14   Draper Fisher Jurvetson Venture Partners, L.P. Pursuant to the Amendment, DFJ Venture had full

15   access to AllRounds’ system, and did access the system, including AllRounds’ trade secrets, and

16   promised to keep such information confidential.

17          41.     The Draper VC Entities agreed, via the MSA, that neither the Draper VC Entities nor

18   their affiliates would, inter alia, make improper use of any of AllRounds’ confidential information,

19   and would not disclose or use any AllRounds confidential information outside the scope of the

20   agreement. Additionally, AllRounds always stressed to recipients of its confidential information,

21   including its trade secrets, that it regarded such information as confidential, and the recipients of that

22   information verbally assented that they were keep the information confidential.

23          42.     On or around September 3, 2013, Tim Draper, head of the Draper VC Entities, emailed

24   Mr. Cohan to schedule a meeting ostensibly to discuss the possibility of the Draper VC Entities

25   investing in AllRounds. Unbeknownst to AllRounds and Mr. Cohan, just a month earlier, the Draper

26   VC Entities had already invested in eShares, soon to be renamed Carta, and were in actuality seeking

27   to continue to extract as much proprietary trade secret information from AllRounds as possible before

28   abandoning it and developing a competing product with eShares/Carta.


      COMPLAINT                                         10
 1           43.     The meeting took place on or around September 17, 2013. During the meeting,

 2   AllRounds met with Tim Draper, discussed AllRounds’ business strategy, and demonstrated

 3   AllRounds’ latest product functionalities. AllRounds explained to Mr. Draper that AllRounds’

 4   products and the presentation contained confidential information including AllRounds trade secrets,

 5   and that AllRounds had also obtained the ’295 patent. Two days after the meeting, on or around

 6   September 19, 2013, Tim Draper emailed Mr. Cohan, stating that AllRounds’ technology “is cool and

 7   mission critical for us.”

 8           44.     On or around October 1, 2013, Tim Draper again asked AllRounds to meet, this time

 9   with DFJ’s CFO Mark Greenstein and partner Josh Stein. The meeting took place on or around

10   October 9, 2013.

11           45.     After that meeting, and once the Draper VC Entities had taken everything they could

12   from AllRounds, the Draper VC entities cut and ran. On or around October 13, 2013, Tim Draper

13   informed AllRounds that DFJ would not invest in AllRounds due to “market size issues.” Again, just

14   two months prior, the Draper VC Entities had invested in eShares/Carta, whereby the two companies

15   would conspire to enter that very market using AllRounds’ trade secrets. On or around October 30,

16   2013, Mr. Cohan emailed Tim Draper, seeking an introduction to AngeList, which DFJ was invested

17   in. For the first time during the several years that AllRounds had been communicating with the Draper

18   VC Entities, Tim Draper did not reply. On or around December 30, 2013, DFJ Growth and DFJ

19   Mercury terminated their customer relationships with AllRounds.

20           E.      Carta Enters the Private Capital Management Market Only After Being
                     Provided With AllRounds’ Trade Secret Information
21
             46.     Founded in July 2012, eShares (later renamed “Carta”) provided a low-margin and low-
22
     tech, commodity service whereby eShares converted paper stock certificates to electronic stock
23
     certificates.    https://web.archive.org/web/20131010031325/https:/www.esharesinc.com.        Before
24
     eShares obtained AllRounds’ trade secret information, its simple product was drastically different
25
     from what its comprehensive financial software offerings would later become.
26
             47.     With AllRounds’ proprietary trade secret information in hand from years of
27
     confidential discussion and use of the AllRounds products under confidentiality agreements, the
28

      COMPLAINT                                       11
 1   Draper VC Entities invested in the “seed” round of financing for eShares via DFJ on or around August

 2   13, 2013. As they acquired everything they could from AllRounds, after years of close communication

 3   and confidential disclosures, the Draper VC Entities took those trade secrets to eShares, and the

 4   transformation of eShares into an AllRounds copycat began.

 5          48.    In November 2013, eShares announced it would introduce a cap table management

 6   product, a drastic deviation from its basic digital stock certificate conversion offerings.

 7   https://web.archive.org/web/20140306064440/http:/vator.tv/news/2013-11-21-splash-sf-oct-2013-

 8   finalist-eshares. Even then, as eShares acknowledged, eShares’ cap table management product was a

 9   much narrower offering than the comprehensive private capital management platform that AllRounds

10   developed.   https://carta.com/blog/eshares-is-now-carta/ (“The investor criticism of eShares has

11   always been ‘how big can the cap table market be?’ It turns out much bigger than people thought.”).

12   Yet Carta was actively and surreptitiously copying AllRounds trade secrets, to offer the broader and

13   highly innovative platform that had been developed by AllRounds.

14          49.    Accordingly, Carta thereafter further pivoted its business into additional private capital

15   management features based on AllRounds patented technologies and trade secrets. This included

16   Carta for Private Companies and Carta for Venture Capital. This also included CartaX, an exchange

17   platform based on AllRounds’ patented technologies and trade secrets.            By misappropriating

18   AllRounds’ trade secrets, Carta gained entry into a market that it had no ability to enter before

19   acquiring that information, thereby transforming its once-sleepy business into a multi-billion-dollar

20   juggernaut that is seen as the future of the private capital market world, just as AllRounds was when

21   it was discovered by the Draper VC Entities.

22          50.    The Draper VC Entities via Draper Associates further invested in Carta’s Series B

23   financing round on or around July 12, 2015, loaned funds to Carta via convertible note on or around

24   February 13, 2017, invested in Carta’s Series C financing round on or around October 11, 2017,

25   invested in Carta’s Series C prime financing round on or around January 30, 2018, invested in Carta’s

26   Series D financing round on or around December 26, 2018, invested in Carta’s Series E financing

27   round on or around May 6, 2019, and invested in Carta’s Series F financing round on or around May

28   10, 2020.


      COMPLAINT                                       12
 1           51.     On    or     around    November     6,   2017,   eShares   renamed   itself   “Carta.”

 2   https://carta.com/blog/eshares-is-now-carta/.

 3           52.     Carta’s software technologies and business strategies are nearly identical to those of

 4   AllRounds. When viewed in context with AllRounds’ innovative technologies, Carta’s use of

 5   AllRounds’ intellectual property is undeniable, as is its focus on them as a company, as indicated by

 6   its descriptions of its products and its CEO’s discussion of its business plans, both past and future.

 7   https://techcrunch.com/2019/05/06/carta-was-just-valued-at-1-7-billion-by-andreessen-horowitz-in-

 8   a-deal-some-see-as-rich/.

 9           53.     Following its most recent round of Series F preferred stock financing which closed on

10   or around May 10, 2020, Carta is reported to have a “post-money” valuation of over $3.2

11   billion. https://westcoast.partners/portfolio_type/carta/.

12                                                   COUNT I
13                              Trade Secret Misappropriation Under The Defend
                                Trade Secrets Act, 18 U.S.C. §§ 1836(b), 1839 et seq.
14                                           (Against All Defendants)
15           54.     AllRounds re-alleges and incorporates by reference the allegations above as though

16   fully set forth herein.

17           55.     AllRounds’ trade secret and confidential information relates to products or services

18   used, sold, purchased, or transported, or intended for use, sale, purchase, or transport, across the

19   country and throughout the world.

20           56.     AllRounds is the owner of trade secret and confidential information, that as described

21   above, constitute “trade secrets” within the meaning of 18 U.S.C. § 1839(3).

22           57.     The above detailed trade secret and confidential information that Defendants accessed,

23   used, copied, and shared derives independent economic value, both actual and potential, from not

24   being generally known to and not being readily ascertainable through proper means by AllRounds’

25   competitors, including Carta, or to other persons or entities who might obtain economic value from

26   their disclosure or use.

27

28

      COMPLAINT                                          13
 1            58.    At all times relevant herein, AllRounds has taken the above-described reasonable

 2   measures to protect the secrecy of its trade secret and confidential information, including that which

 3   Defendants have misappropriated.

 4            59.    The Draper VC Entities gained access to AllRounds’ trade secrets under non-disclosure

 5   and confidentiality agreements.

 6            60.    The Draper VC Entities subsequently used and disclosed to Carta AllRounds’ trade

 7   secrets. Carta conspired with Draper VC Entities to steal AllRounds’ trade secret technologies and

 8   soon thereafter released a competing software platform almost identical to AllRounds. At all relevant

 9   times, Defendants were aware that Draper VC Entities had obligations to AllRounds to refrain from

10   taking AllRounds’ trade secrets.

11            61.    Defendants improperly acquired AllRounds’ trade secrets and have since improperly

12   used and disclosed those trade secrets, including by incorporating them into products Carta developed

13   as its own.

14            62.    Defendants’ actions, as set forth herein, constitute “misappropriation” within the

15   meaning of 18 U.S.C. § 1839(5).

16            63.    Defendants accessed, used, copied, and shared AllRounds’ trade secret and confidential

17   information by improper means, without AllRounds’ express or implied consent.

18            64.    Defendants knew or had reason to know at the time they accessed, used, copied, and/or

19   shared AllRounds’ trade secret and confidential information that this information was acquired and

20   maintained by improper means and/or under circumstances giving rise to a duty to maintain secrecy

21   or limit use.

22            65.    Defendants are retaining and using AllRounds’ trade secret and confidential

23   information to compete with and/or otherwise harm AllRounds. As alleged herein, Defendants

24   committed numerous acts in furtherance of its misappropriation in the United States and in this

25   District, including misappropriating trade secrets that it obtained and/or originated from this District

26   with knowledge and intent to harm AllRounds in this District, as well as attempting to sell and/or

27   selling (and/or facilitating selling) products in the U.S. and this District that benefit from Defendants’

28   theft.


      COMPLAINT                                         14
 1           66.     Defendants’ misappropriation has proximately caused damage to AllRounds, including

 2   but not limited to loss of profits, goodwill, competitive advantage and business opportunities.

 3           67.     Defendants have been unjustly enriched as a further proximate result of its

 4   misappropriation of AllRounds’ trade secret and confidential information.

 5           68.     Defendants’ actions in misappropriating AllRounds’ trade secret and confidential

 6   information were willful, fraudulent, malicious, and was done with the intent to injure and oppress

 7   AllRounds and improve Defendants’ own economic opportunities, thereby justifying an award of

 8   punitive damages against Defendants pursuant to 18 U.S.C. § 1836(b)(3)(C) and attorneys’ fees

 9   pursuant to 18 U.S.C. § 1836(b)(3)(D).

10           69.     AllRounds is also entitled to temporary, preliminary, and permanent injunctive relief

11   to protect its confidential information and trade secrets by 1) enjoining Defendants from using or

12   disclosing AllRounds’ trade secret and confidential information; 2) enjoining Defendants from altering

13   or deleting AllRounds’ trade secret and confidential information; and 3) requiring Defendants to turn

14   over any and all copies of AllRounds’ trade secret and confidential information to AllRounds.

15                                                COUNT II
16                     Trade Secret Misappropriation Under The California Uniform
                              Trade Secret Act, Cal. Civ. Code § 3426 et seq.
17                                      (Against All Defendants)
18           70.     AllRounds re-alleges and incorporates by reference the allegations above as though

19   fully set forth herein.

20           71.     AllRounds is the owner of trade secret and confidential information, that as described

21   above, constitute “trade secrets” within the meaning of Cal. Civil Code § 3426.1.

22           72.     The above detailed trade secret and confidential information that Defendants accessed,

23   used, copied, and shared derives independent economic value, both actual and potential, from not

24   being generally known to and not being readily ascertainable through proper means by AllRounds’

25   competitors, including Carta, or to other persons or entities who might obtain economic value from its

26   disclosure or use.

27

28

      COMPLAINT                                        15
 1           73.     At all times relevant herein, AllRounds has taken the above-described reasonable

 2   measures to protect the secrecy of trade secret and confidential information, including that which

 3   Defendants has misappropriated.

 4           74.     The Draper VC Entities gained access to AllRounds’ trade secrets under non-disclosure

 5   and confidentiality agreements.

 6           75.     The Draper VC Entities subsequently used and disclosed to Carta AllRounds’ trade

 7   secrets. Carta conspired with Draper VC Entities to steal AllRounds’ trade secret technologies and

 8   soon thereafter released a competing product almost identical to AllRounds. At all relevant times,

 9   Defendants were aware that Draper VC Entities had obligations to AllRounds to refrain from taking

10   AllRounds’ trade secrets.

11           76.     Defendants improperly acquired AllRounds’ trade secrets and have since improperly

12   used and disclosed those trade secrets, including by incorporating them into products Defendants

13   develops as its own.

14           77.     Defendants’ actions, as set forth herein, constitute “misappropriation” within the

15   meaning of Cal. Civil Code § 3426.1.

16           78.     Defendants accessed, used, copied, and shared AllRounds’ trade secret and confidential

17   information by improper means, without AllRounds’ express or implied consent.

18           79.     Defendants knew or had reason to know at the time they accessed, used, copied, and/or

19   shared AllRounds’ trade secret and confidential information that this information was acquired and

20   maintained by improper means and/or under circumstances giving rise to a duty to maintain its secrecy

21   or limit its use.

22           80.     Defendants has failed to return to AllRounds the trade secret and confidential

23   information that it misappropriated.

24           81.     Defendants is retaining and using AllRounds’ trade secret and confidential information

25   to compete with and/or otherwise harm AllRounds.

26           82.     Defendants’ misappropriation proximately caused damages to AllRounds, including

27   but not limited to loss of profits, goodwill, competitive advantage and business opportunities.

28

      COMPLAINT                                        16
 1          83.      Defendants has been unjustly enriched as a further proximate result of its

 2   misappropriation of AllRounds’ trade secret and confidential information.

 3          84.      Defendants’ actions in misappropriating AllRounds’ trade secret and confidential

 4   information were willful, fraudulent, malicious, and was done with the intent to injure and oppress

 5   AllRounds and improve Defendants’ own economic opportunities, thereby justifying an award of

 6   punitive damages against Defendants pursuant to Cal. Civil Code section 3426.3(c) and attorneys’ fees

 7   pursuant to Cal. Civ. Code § 3426.4.

 8          85.      AllRounds is also entitled to temporary, preliminary, and permanent injunctive relief

 9   to protect its confidential information and trade secrets by 1) enjoining Defendants from using or

10   disclosing AllRounds’ trade secret and confidential information; 2) enjoining Defendants from altering

11   or deleting AllRounds’ trade secret and confidential information; and 3) requiring Defendants to turn

12   over any and all copies of AllRounds’ trade secret and confidential information to AllRounds.

13                                                 COUNT III
14                                   Infringement of Patent No. 8,046,295
                                              (Against Carta)
15
            86.      AllRounds incorporates and re-alleges each and every allegation above as if fully set
16
     forth herein.
17
            87.      The ’295 patent, entitled “Private Capital Management System and Method,” was duly
18
     and lawfully issued on October 25, 2011. A true and correct copy of AllRounds’ ’295 patent is
19
     attached as Exhibit A.
20
            88.      AllRounds is the owner of all rights, title, and interest in the ’295 patent, including the
21
     right to bring this suit for injunctive relief and damages.
22
            89.      The ’295 patent is valid and enforceable.
23
            90.      AllRounds has marked its products with the ’295 patent since it issued, and has also
24
     listed the ’295 patent on its website since it issued. https://www.allrounds.com/about.
25
            91.      Carta has infringed, and continues to infringe, literally and/or through the doctrine of
26
     equivalents, one or more claims of the ’295 patent, including but not limited to claim 1, pursuant to
27
     35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing within the United
28

      COMPLAINT                                          17
 1   States, without authority, products that are covered by one or more claims of the ’295 patent. These

 2   products include, but are not limited to Carta for Private Companies, Carta for Venture Capital, and/or

 3   CartaX, alone or in combination (“Accused Products”).

 4             92.    In addition to directly infringing the ’295 patent, Carta has indirectly infringed and

 5   continues to indirectly infringe one or more claims of the ’295 patent, including at least claim 1, by

 6   actively inducing others to directly infringe the ’295 patent in violation of 35 U.S.C. § 271(b).

 7   Specifically, and in light of the knowledge of the ’295 patent by Carta (at least by the filing of this

 8   Complaint), Carta knowingly induced infringement of the ’295 patent with specific intent to do so by

 9   its activities relating to the sales and offers to sell its Accused Products to its purchasers, and by

10   instructing and encouraging purchasers to operate and use those products in an infringing manner with

11   knowledge that these actions would infringe the ’295 patent.

12             93.    Carta has also contributed to infringement of the ’295 patent by others by selling or

13   offering to sell products that constitute a material part of the ’295 patent claimed inventions, that are

14   especially made and/or adapted for infringing the ’295 patent and are not staple articles of commerce

15   suitable for substantial non-infringing use and that have been sold to purchasers who infringe the ’295

16   patent. Specifically, and in light of the knowledge of the ’295 patent by Carta as previously alleged,

17   Carta had knowledge that its products were specifically made and/or adapted for infringement of the

18   ’295 patent and are not staple articles of commerce suitable for substantial non-infringing use.

19             94.    For example, Carta has infringed, and continues to infringe, at least claim 1 of the ’295

20   patent:

21             1. A computer-implemented data processing system comprising:
22             a data storage system that receives and stores financial information regarding
               capitalization and financial performance of companies, the capitalization including
23             equity securities and debt securities issued by the companies and traded in private
               capital markets, the investors having ownership interests in the equity securities and
24             the debt securities; and
25             a processor and computer-readable media, having instructions stored therein that when
               executed by the processor cause the processor to implement capital management logic,
26             the capital management logic being accessible to a plurality of users by way of a
               communication network, the plurality of users including companies, institutional
27             investors, individual investors, and exchanges, the capital management logic being
               configured to facilitate pre-financing and post-financing transactions and other
28             interactions between the companies, the institutional investors, the individual investors,

      COMPLAINT                                           18
 1             and the exchanges throughout one or more rounds of financing of the companies, the
               capital management logic being configured to track the capitalization and financial
 2             performance of the companies.

 3
               95.      The Accused Products have a computer-implemented data processing system. For
 4
     example, the Accused Products, such as Carta for Private Companies and Carta for Venture Capital,
 5
     provide an “all-in-one platform” that can receive and output various data. https://carta.com/investors/;
 6
     see also, e.g., https://carta.com/private-companies/. As another example, Carta alleges that CartaX is
 7
     “[t]he first vertically integrated market ecosystem for private equity[.]” https://cartax.com/.
 8
               96.      The Accused Products have or are used with a data storage system that receives and
 9
     stores financial information regarding capitalization and financial performance of companies, the
10
     capitalization including equity securities and debt securities issued by the companies and traded in
11
     private capital markets, the investors having ownership interests in the equity securities and the debt
12
     securities. For example, the Accused Products provide for or work with a data storage system that
13
     receives and stores information regarding financial performance of companies, such as “revenue and
14
     net income” and “cash balance,” as required in Carta for Private Companies and Carta for Venture
15
     Capital (https://support.carta.com/s/article/financing-history-page), or such as “data on scores of
16
     private         companies”    and    “key     financial    metrics,”    as      required   in     CartaX
17
     (https://www.ft.com/content/d52b0487-b13c-4bae-bf27-770518ff083d;
18
     https://www.tradingandinvestmentnews.co.uk/silicon-valley-start-up-carta-plans-private-stock-
19
     exchange-to-rival-nasdaq/).
20
               97.      As another example, the Accused Products provide for or work with a data storage
21
     system           that    receives    and      stores      information        regarding     capitalization.
22
     https://support.carta.com/s/article/exporting-the-cap-table.     The capitalization includes equity
23
     securities such as preferred stocks (labeled as “PS” in the Accused Products), as well as debt securities
24
     such as convertible notes (labeled as “CN” in the Accused Products). Id. These securities are issued
25
     by companies, such as “Meetly” as illustrated by the Accused Products. Id. The securities are traded
26
     in the private capital markets through the “Transaction” tab and as further detailed below. Id. As a
27
     further example, the Accused Products, such as CartaX, offers “[s]eamless cap table integration,”
28

      COMPLAINT                                          19
 1   allowing individual and institutional investors to have access to companies’ capitalization information.

 2   https://cartax.com/.

 3            98.    The Accused Products have or make use of a processor and computer-readable media,

 4   the computer readable media having instructions stored therein that when executed by the processor

 5   cause the processor to implement capital management logic, the capital management logic being

 6   accessible to a plurality of users by way of a communication network, as is evidenced by the “all-in-

 7   one platform” that can receive and output various data offered by the Accused Products.

 8   https://carta.com/investors/; see also, e.g., https://carta.com/private-companies/. The same limitation

 9   is further met by CartaX, which Carta alleges is “[t]he first vertically integrated market ecosystem for

10   private equity[.]” https://cartax.com/.

11            99.    The Accused Products involve the plurality of users including companies, institutional

12   investors, individual investors, and exchanges. For example, the Accused Products, such as Carta for

13   Private Companies and Carta for Venture Capital, allow for companies and investors to complete “a

14   tender offer or secondary with a third party buyer” “through the Carta feature.”

15   https://support.carta.com/s/article/transfer-shares. Moreover, the Accused Products involve exchange

16   users, including Carta Securities, LLC. For example, the Accused Products, such as Carta for Private

17   Companies and Carta for Venture Capital “transact[] $140 million+ in option exercises, repurchases,

18   and tender offers per month.” https://carta.com/carta-vs-shareworks/.

19            100.   As a further example, the Accused Products, such as CartaX, which Carta alleges is

20   “[t]he first vertically integrated market ecosystem for private equity,” https://cartax.com/, allow for

21   “[an] issuer (i.e., company) [to] exercise controls on the auction configuration,” where “the auctions

22   can be accessible by any institutional investor on the buy side and anyone on the cap table on the sell

23   side.”          https://tribecap.co/1-trillion-in-equity-how-carta-is-set-to-unlock-the-private-markets/

24   (emphasis in original). The Accused Products, such as CartaX, also involve exchange users. As Henry

25   Ward, Carta’s CEO, stated, “[i]f CartaX wins, in 10 years there won’t be a NYSE or a Nasdaq.”

26   https://www.ft.com/content/d52b0487-b13c-4bae-bf27-770518ff083d; see also https://cartax.com/

27   (“CartaX: More than a trading platform”); https://capital.com/silicon-valley-start-up-carta-looks-to-

28

      COMPLAINT                                        20
 1   launch-private-share-trading-platform (describing CartaX as “a private share trading platform that

 2   [Carta] hopes will be a credible alternative to leading stock exchanges.”).

 3          101.    The Accused Products have capital management logic being configured to facilitate

 4   pre-financing and post-financing transactions and other interactions between the companies, the

 5   institutional investors, the individual investors, and the exchanges throughout one or more rounds of

 6   financing of the companies. For example, the Accused Products have the capital management logic

 7   that is configured to facilitate pre-financing transactions, such as due diligence, between the

 8   companies, the institutional investors, the individual investors, and the exchanges throughout one or

 9   more rounds of financing of the companies, allowing Carta’s users to “quickly respond to inquiries

10   during the due diligence process” and “alleviat[e] a buyer’s concerns.” https://carta.com/blog/how-

11   carta-helps-with-m-a/.

12          102.    As another example, the Accused Products have the capital management logic that is

13   configured to facilitate pre- and post-financing transactions, such as secondary transactions, between

14   the companies, the institutional investors, the individual investors, and the exchanges throughout one

15   or more rounds of financing of the companies, where “[p]articipants review offers, sign docs, and

16   transact all through Carta.” https://carta.com/private-companies/liquidity/.

17          103.    As a further example, CartaX is a “secondary platform” for transaction of “private

18   assets.”       https://tribecap.co/1-trillion-in-equity-how-carta-is-set-to-unlock-the-private-markets/;

19   https://cartax.com/. CartaX also “[f]acilitate[s] access to disclosures and company-provided KPIs to

20   all permissioned buyers and sellers.” https://cartax.com/private-companies/carta-cross/.

21          104.    The Accused Products have the capital management logic being configured to track the

22   capitalization and financial performance of the companies, as explained above. For example, the

23   Accused Products track companies’ financial performance, such as “revenue and net income” and

24   “cash balance,” as required in Carta for Private Companies and Carta for Venture Capital

25   (https://support.carta.com/s/article/financing-history-page), or such as “data on scores of private

26   companies”       and      “key       financial      metrics,”      as     required      in      CartaX

27   (https://www.ft.com/content/d52b0487-b13c-4bae-bf27-770518ff083d;

28   https://www.tradingandinvestmentnews.co.uk/silicon-valley-start-up-carta-plans-private-stock-


      COMPLAINT                                        21
 1   exchange-to-rival-nasdaq/).       As another example, the Accused Products track companies’

 2   capitalization including equity and debt securities. https://support.carta.com/s/article/exporting-the-

 3   cap-table; https://cartax.com/.

 4          105.     In confirmation of the specific and concrete advancements of the AllRounds patented

 5   technologies over the prior art, Carta asserts that the patented technologies are so valuable that they

 6   will allow Carta to put the New York Stock Exchange and the Nasdaq out of existence and create the

 7   never-before-seen     ability     for   a    company      to    be    both     “private    and     liquid.”

 8   https://www.tradingandinvestmentnews.co.uk/silicon-valley-start-up-carta-plans-private-stock-

 9   exchange-to-rival-nasdaq/.

10          106.     As the direct and proximate result of Carta’s conduct, AllRounds has suffered and, if

11   Carta’s conduct is not stopped, will continue to suffer, severe competitive harm, irreparable injury,

12   and significant damages, in an amount to be proven at trial. Because AllRounds’ remedy at law is

13   inadequate, AllRounds seeks, in addition to damages, temporary, preliminary, and permanent

14   injunctive relief. AllRounds’ business operates in a competitive market and will continue suffering

15   irreparable harm absent injunctive relief.

16                                                  COUNT IV
17                                     Infringement of Patent No. 8,374,954
                                                (Against Carta)
18

19          107.     AllRounds incorporates and re-alleges each and every allegation above as if fully set

20   forth herein.

21          108.     The ’954 patent, entitled “Private Capital Management System and Method,” was duly

22   and lawfully issued on February 12, 2013. A true and correct copy of AllRounds’ ’954 patent is

23   attached as Exhibit B.

24          109.     AllRounds is the owner of all rights, title, and interest in the ’954 patent, including the

25   right to bring this suit for injunctive relief and damages.

26          110.     The ’954 patent is valid and enforceable.

27          111.     AllRounds has marked its products with the ’954 patent since it issued, and has also

28   listed the ’954 patent on its website since it issued. https://www.allrounds.com/about.


      COMPLAINT                                          22
 1             112.   Carta has infringed, and continues to infringe, literally and/or through the doctrine of

 2   equivalents, one or more claims of the ’954 patent, including but not limited to claim 1, pursuant to

 3   35 U.S.C. § 271(a), by making, using, selling, offering to sell, and/or importing within the United

 4   States, without authority, products that are covered by one or more claims of the ’954 patent. These

 5   products include, but are not limited to Carta for Private Companies, Carta for Venture Capital, and/or

 6   CartaX, alone or in combination (“Accused Products”).

 7             113.   In addition to directly infringing the ’954 patent, Carta has indirectly infringed and

 8   continues to indirectly infringe one or more claims of the ’954 patent, including at least claim 1, by

 9   actively inducing others to directly infringe the ’954 patent in violation of 35 U.S.C. § 271(b).

10   Specifically, and in light of the knowledge of the ’954 patent by Carta (at least by the filing of this

11   Complaint), Carta knowingly induced infringement of the ’954 patent with specific intent to do so by

12   its activities relating to the sales and offers to sell its Accused Products to its purchasers, and by

13   instructing and encouraging purchasers to operate and use those products in an infringing manner with

14   knowledge that these actions would infringe the ’954 patent.

15             114.   Carta has also contributed to infringement of the ’954 patent by others by selling or

16   offering to sell products that constitute a material part of the ’954 patent claimed inventions, that are

17   especially made and/or adapted for infringing the ’954 patent and are not staple articles of commerce

18   suitable for substantial non-infringing use and that have been sold to purchasers who infringe the ’954

19   patent. Specifically, and in light of the knowledge of the ’954 patent by Carta as previously alleged,

20   Carta had knowledge that its products were specifically made and/or adapted for infringement of the

21   ’954 patent and are not staple articles of commerce suitable for substantial non-infringing use.

22             115.   For example, Carta has infringed, and continues to infringe, at least claim 1 of the ’954

23   patent:

24             1. A computer-implemented data processing system comprising:
25             a network interface that connects the data processing system to computers associated
               with a plurality of users by way of a communication network, the plurality of users
26             including companies, institutional investors, individual investors, and exchanges, the
               network interface receiving information from the computers including information
27             regarding capitalization and financial performance of companies, the capitalization
               including equity securities and debt securities issued by the companies and traded in
28

      COMPLAINT                                          23
 1          private capital markets, the investors having ownership interests in the equity securities
            and the debt securities; and
 2
            a data storage system that receives and stores the information regarding capitalization
 3          and financial performance of companies; and

 4          a processor and computer-readable media, the computer readable media having
            instructions stored therein that when executed by the processor cause the processor to
 5          implement stored capital management logic, the stored capital management logic being
            accessible to the plurality of users by way of the communication network, the stored
 6          capital management logic being configured to facilitate pre-financing and post-
            financing transactions and other interactions between the companies, the institutional
 7          investors, the individual investors, and the exchanges throughout one or more rounds
            of financing of the companies, the stored capital management logic being configured
 8          to track the capitalization and financial performance of the companies.

 9
            116.        The Accused Products have a computer-implemented data processing system. For
10
     example, the Accused Products, such as Carta for Private Companies and Carta for Venture Capital,
11
     provides      an     “all-in-one    platform”      that     can    receive   and    output   various    data.
12
     https://carta.com/investors/; see also, e.g., https://carta.com/private-companies/. As another example,
13
     Carta alleges that CartaX is “[t]he first vertically integrated market ecosystem for private equity[.]”
14
     https://cartax.com/.
15
            117.        The Accused Products have or work with a network interface that connects the data
16
     processing system to computers associated with a plurality of users by way of a communication
17
     network, the network interface receiving information from the computers, as is evidenced by the
18
     interactions of the users described below.                     https://carta.com/investors/; see also, e.g.,
19
     https://carta.com/private-companies/;           https://cartax.com/;         https://cartax.com/institutional-
20
     investors/#expand-investment-opportunities.
21
            118.        The Accused Products have a plurality of users by way of a communication network,
22
     the plurality of users including companies, institutional investors, individual investors, and exchanges.
23
     For example, the Accused Products allow for companies and investors to complete “a tender offer or
24
     secondary          with    a       third   party          buyer”     “through      the    Carta     feature.”
25
     https://support.carta.com/s/article/transfer-shares. Moreover, the Accused Products involve exchange
26
     users, including Carta Securities, LLC. For example, the Accused Products, such as Carta for Private
27

28

      COMPLAINT                                                24
 1   Companies and Carta for Venture Capital, “transact[] $140 million+ in option exercises, repurchases,

 2   and tender offers per month.” https://carta.com/carta-vs-shareworks/.

 3            119.   As a further example, the Accused Products, such as CartaX, which Carta alleges is

 4   “[t]he first vertically integrated market ecosystem for private equity,” https://cartax.com/, allow for

 5   “[an] issuer (i.e., company) [to] exercise controls on the auction configuration,” where “the auctions

 6   can be accessible by any institutional investor on the buy side and anyone on the cap table on the sell

 7   side.”          https://tribecap.co/1-trillion-in-equity-how-carta-is-set-to-unlock-the-private-markets/

 8   (emphasis in original). The Accused Products, such as CartaX, also involve exchange users. As Henry

 9   Ward, Carta’s CEO, stated, “[i]f CartaX wins, in 10 years there won’t be a NYSE or a Nasdaq.”

10   https://www.ft.com/content/d52b0487-b13c-4bae-bf27-770518ff083d; see also https://cartax.com/

11   (“CartaX: More than a trading platform”); https://capital.com/silicon-valley-start-up-carta-looks-to-

12   launch-private-share-trading-platform (describing CartaX as “a private share trading platform that

13   [Carta] hopes will be a credible alternative to leading stock exchanges.”).

14            120.   The Accused Products have or work with a network interface that receives information

15   from the computers including information regarding capitalization and financial performance of

16   companies, the capitalization including equity securities and debt securities issued by the companies

17   and traded in private capital markets, the investors having ownership interests in the equity securities

18   and the debt securities, as well as a data storage system that receives and stores the information

19   regarding capitalization and financial performance of companies. For example, the Accused Products

20   provide for or work with a network interface that receives and a data storage system that receives and

21   stores financial information regarding financial performance of companies, such as “revenue and net

22   income” and “cash balance,” as required in Carta for Private Companies and Carta for Venture Capital

23   (https://support.carta.com/s/article/financing-history-page), or such as “data on scores of private

24   companies”        and      “key      financial      metrics,”      as     required      in      CartaX

25   (https://www.ft.com/content/d52b0487-b13c-4bae-bf27-770518ff083d;

26   https://www.tradingandinvestmentnews.co.uk/silicon-valley-start-up-carta-plans-private-stock-

27   exchange-to-rival-nasdaq/).

28

      COMPLAINT                                        25
 1          121.    As another example, the Accused Products further provide for “Capitalization” features

 2   which involve a network interface that receives and a data storage system that receives and stores

 3   information regarding capitalization. https://support.carta.com/s/article/exporting-the-cap-table. The

 4   capitalization includes equity securities such as preferred stocks (labeled as “PS” in the Accused

 5   Products), as well as debt securities such as convertible notes (labeled as “CN” in the Accused

 6   Products). Id. These securities are issued by companies, such as “Meetly” as illustrated by the

 7   Accused Products.      Id.   The securities are traded in the private capital markets through the

 8   “Transaction” tab and as further detailed below. Id. As a further example, the Accused Products, such

 9   as CartaX, offers “[s]eamless cap table integration”, allowing individual and institutional investors to

10   have access to companies’ capitalization information. https://cartax.com/.

11          122.    The Accused Products have or make use of a processor and computer-readable media,

12   the computer readable media having instructions stored therein that when executed by the processor

13   cause the processor to implement stored capital management logic, the stored capital management

14   logic being accessible to the plurality of users by way of the communication network, as is evidenced

15   by the “all-in-one platform” that can receive and output various data offered by the Accused Products,

16   such as Carta for Private Companies and Carta for Venture Capital. https://carta.com/investors/; see

17   also, e.g., https://carta.com/private-companies/. The same limitation is further met by CartaX, which

18   Carta alleges is “[t]he first vertically integrated market ecosystem for private equity[.]”

19   https://cartax.com/.

20          123.    The Accused Products have the stored capital management logic being configured to

21   facilitate pre-financing and post-financing transactions and other interactions between the companies,

22   the institutional investors, the individual investors, and the exchanges throughout one or more rounds

23   of financing of the companies. For example, the Accused Products have the capital management logic

24   that is configured to facilitate pre-financing transactions, such as due diligence, between the

25   companies, the institutional investors, the individual investors, and the exchanges throughout one or

26   more rounds of financing of the companies, allowing Carta’s users to “quickly respond to inquiries

27   during the due diligence process” and “alleviat[e] a buyer’s concerns.” https://carta.com/blog/how-

28   carta-helps-with-m-a/.


      COMPLAINT                                        26
 1          124.    As another example, the Accused Products have the capital management logic that is

 2   configured to facilitate pre- and post-financing transactions, such as secondary transactions, between

 3   the companies, the institutional investors, the individual investors, and the exchanges throughout one

 4   or more rounds of financing of the companies, where “[p]articipants review offers, sign docs, and

 5   transact all through Carta.” https://carta.com/private-companies/liquidity/.

 6          125.    As a further example, CartaX is a “secondary platform” for transaction of “private

 7   assets.”       https://tribecap.co/1-trillion-in-equity-how-carta-is-set-to-unlock-the-private-markets/;

 8   https://cartax.com/. CartaX also “[f]acilitate[s] access to disclosures and company-provided KPIs to

 9   all permissioned buyers and sellers.” https://cartax.com/private-companies/carta-cross/.

10          126.    The Accused Products have the stored capital management logic being configured to

11   track the capitalization and financial performance of the companies, as explained above. For example,

12   the Accused Products track companies’ financial performance, such as “revenue and net income” and

13   “cash balance,” as required in Carta for Private Companies and Carta for Venture Capital

14   (https://support.carta.com/s/article/financing-history-page), or such as “data on scores of private

15   companies”       and        “key         financial    metrics,”        as      required    in    CartaX

16   (https://www.ft.com/content/d52b0487-b13c-4bae-bf27-770518ff083d;

17   https://www.tradingandinvestmentnews.co.uk/silicon-valley-start-up-carta-plans-private-stock-

18   exchange-to-rival-nasdaq/).        As another example, the Accused Products track companies’

19   capitalization including equity and debt securities. https://support.carta.com/s/article/exporting-the-

20   cap-table; https://cartax.com/.

21          127.    In confirmation of the specific and concrete advancements of the AllRounds patented

22   technologies over the prior art, Carta asserts that the patented technologies are so valuable that they

23   will allow Carta to put the New York Stock Exchange and the Nasdaq out of existence and create the

24   never-before-seen      ability     for    a    company    to      be    both    “private   and   liquid.”

25   https://www.tradingandinvestmentnews.co.uk/silicon-valley-start-up-carta-plans-private-stock-

26   exchange-to-rival-nasdaq/.

27          128.    As the direct and proximate result of Carta’s conduct, AllRounds has suffered and, if

28   Carta’s conduct is not stopped, will continue to suffer, severe competitive harm, irreparable injury,


      COMPLAINT                                           27
 1   and significant damages, in an amount to be proven at trial. Because AllRounds’ remedy at law is

 2   inadequate, AllRounds seeks, in addition to damages, temporary, preliminary, and permanent

 3   injunctive relief. AllRounds’ business operates in a competitive market and will continue suffering

 4   irreparable harm absent injunctive relief.

 5                                                JURY DEMAND
 6           Pursuant to Civ. L.R. 3-6 and Fed. R. Civ. P. 38, AllRounds requests trial by jury for all causes

 7   of action, claims, or issues in this action that are so triable.

 8                                           PRAYER FOR RELIEF
 9           WHEREFORE, AllRounds demands judgment against Defendants as follows:
10
             129.    For judgment in AllRounds’ favor and against the Defendants on all causes of action
11
     alleged herein against them;
12
             130.    For preliminary and permanent injunctive relief;
13
             131.    For judgment that this is an exceptional case;
14

15           132.    For punitive damages;

16           133.    For disgorgement of profits;
17           134.    For restitution;
18
             135.    For costs of suit incurred herein;
19
             136.    For prejudgment and post-judgment interest;
20
             137.    For attorneys’ fees and costs; and
21

22           138.    For such other and further relief as the Court may deem to be just and proper.

23
      DATED: October 9, 2020                                 Respectfully submitted,
24
                                                             /s/ Adam R. Alper
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      COMPLAINT                                           28
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     COMPLAINT   29
